Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 1 of 67




 EXHIBIT A
       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 2 of 67




                   IN THE COURT OF COMMON PLEAS
              OF WASHINGTON COUNTY,PENNSYLVANIA

WILLIAM C.HAYWARD
individually and t/d/b/a HAYWARD
NATURAL RESOURCES                                    CIVIL DIVISION

                   Plaintiff,                       NO:              %'1

      vs.                                           COMPLAINT

RANGE RESOURCES
CORPORATION,and
MOUNTAIN V OIL AND
GAS CORPORATION,

                   Defendants.
                                                    COUSEL OF RECORD FOR
                                                    PLAINTIFF:
                                                    Chad Schneider, Esquire
                                                    18 W Cherry Ave.
                                                    Washington,PA 150301
                                                    Tel. 724-333-5832

                                                    Dennis P. Popojas,Esquire
                                                    20 W Cherry Ave
                                                    Washington,PA 15301

                                NOTICE TO PLEAD

TO THE DEFENDANTS:               You are hereby notified to file a written response
to the enclosed Complaint within twenty(20)days firom service hereof or a
judgment may be entered against you.


                                       Attorney for Plaintiff
           Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 3 of 67




                            IN THE COURT OF COMMON PLEAS
                     OF WASHINGTON COUNTY,PENNSYLVANIA

WILLIAM C. HAYWARD
individually and t/d/b/a HAYWARD
NATURAL RESOURCES

                           Plaintiff,                                2^1!
         vs.



RANGE RESOURCES
CORPORATION,and
MOUNTAIN V OIL AND
GAS CORPORATION,

                           Defendants.


                                         NOTICE TO DEFEND

        You have been sued in court. If you wish to defend against flie claims set forth in the following pages, you
must take action within twenty(20)days after this complaint and notice are served,by entering a written appearance
personally or by attomey and filing in writing with the court your defenses or objections to the claims set forth
against you. You are warned that ifyou fail to do so the case may proceed without you andajudgment may be
entered against you by the court without further notice for any money claimed in the complaint or for any other
claim or reliefrequested by the plaintiff. You may lose mon^ or property or other rights important to you.
         YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE.IF YOU DO NOT HAVE A
LAWYER,GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.THIS OFFICE CAN PROVIDE YOU
WITH INFORMATION ABOUT HIRING A LAWYER.

      IF YOU CANNOT AFFORD TO HIRE A LAWYER,THIS OFFICE MAY BE ABLE TO PROVIDE
YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL SERVICES TO ELIGIBLE
PERSONS AT A REDUCED FEE OR NO FEE.

                                              Lawyer Referral Service
                                              119 South CoUege Street
                                          Washington,Pennsylvania 15301
                                          Telephone number 724-225-6710

                                   Southwestem Pennsylvania Legal Aid Society
                                              10 West Cherry Avenue
                                          Washington,Pennsylvania 15301
                                          Telephone number 724-225-6170
        Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 4 of 67




                    IN THE COURT OF COMMON PLEAS
               OF WASHINGTON COUNTY,PENNSYLVANIA

 WILLIAM C. HAYWARD
individually and t/d^/a HAYWARD
NATURAL RESOURCES                                   CIVIL DIVISION

                    Plaintiff,                      NO: ^Z/6'7^7

       vs.                                          COMPLAINT

RANGE RESOURCES
CORPORATION,and
MOUNTAIN V OIL AND
GAS CORPORATION,

                   Defendants.

                                  COMPLAINT

      AND NOW,comes the Plaintiff, William C. Hayward also doing business
as Hayward Natural Resources, by and through their attorneys, Chad Schneider,
Esq. and Dennis Popojas,Esq. and respectfully files this Complaint against

Defendants Range Resources and Mountain V Oil and Gas,and in support thereof
respectfully represents and avers the following to the Court:

                                    PARTIES

1.    William C. Hayward is an adult individual residing in Pennsylvania. At all
times relevant herein, William C.Hayward owned and operated as Hayward
Natural Resources,.a fictitious name registered as entity number 2675965 and

located at 130 Longvue Drive, White Oak,Pennsylvania 15131.
        Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 5 of 67




2.     The Defendant,Range Resources Coiporation,(hereinafter referred to as

"Defendant Range"),is a duly registered Texas corporation having a registered

address of 100 Throclonorton Street, Suite 1200,Fort Worth Texas,76102 and a

domestic registered address at 3000 Town Center Blvd., Canonsburg,PA 15317.
3.     The Defendant Mountain V Oil and Gas Corporation,(hereinafter referred to

as "Defendant Mountain")is a duly registered West Virginia Coiporation with a

registered address ofPO Box 470,Bridgeport, West Virginia, 26330.

                             JURISDICTION AND VENUE


4.     This action arises under the laws ofthe Commonwealth ofPennsylvania and

is within the subject matterjurisdiction ofthis Court.

5.     Venue is proper in Washington County pursuant to Pennsylvania Rule of

Civil Procedure 1006(a)(2) because a portion ofthe real estate that is subject

matter ofthis litigation is located in Washington County.

                                      FACTS


6.    PlaintiffHayward operated as a geologist throughout Pennsylvania, Ohio

and West Virginia in the mid 1990's. Plaintiffused his expertise to perform

geological studies ofland and determined ifthe area was viable for the production

of oil and gas.

7.    Plaintiffidentified viable tracts ofland and,in turn, would market said tracts

to various oil and gas companies for exploitation. In return, as a form of
       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 6 of 67




compensation, Plaintiff would receive an overriding royalty interest in the lands

they marketed if said tract was leased and developed by an oil and gas company.

8.    An overriding royalty interest is best defined as a firactional interest in the

gross production ofoil and gas,in addition to the usual royalties paid to the lessor.

The term may be used in referring to a nonparticipating royalty interest in

perpetuity or for a term of years created by the land or mineral owner prior to a

lease for oil and gas. See 3 W.L. Summers, Hie Law of Oil and Gas § 554 at 624

(1958).

9.    Consistent with his operations. Plaintiff executed an Area Agreement for the

Hackett Prospect between themselves and Patriot Exploration Company in

December 2003.


10.    The Hackett Prospect Area Agreement designated a "lease agreement area"

whereby Patriot agreed to provide to Plaintiff and his business partner(Frank

Lotito)an overriding royalty interest of3%,split equally between the Plaintiff and

his partner, in exchange for aid in the coordination and direction ofleasing

activities by Patriot for any wells drilled in the lease agreement area. A true and

correct copy ofthe Hackett Prospect Area Agreement is attached hereto and

incorporated herein as Exhibit"A."
        Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 7 of 67




 11. Pursuant to the aforementioned agreement the Plaintiffand his partner were
 to receive a location fee ofthree thousand dollars($3,000)in addition to the 3%
 overriding royalty interest in wells drilled.

 12. From 2003 to 2004 Patriot acquired oil and gas leases within the Hackett
 Prospect Area and eventually drilled a natural gas well in June 2005 referred to as
 the Huffy #1 Well.

 13. To the best ofPlaintiffs knowledge,Patriot was unable to continue
operations on the Huffy #1 Well. As such. Mountain V. Oil and Gas sought to take
over development ofthe area.

14. On or about June 1,2005,Plaintiffentered into an agreement with Mountain
V Oil and Gas,Inc. to provide similar geological services to Mountain V in the
Hackett Prospect Area in exchange for a 3% overriding royalty interest in any
wells drilled by Mountain V or those prospected by Patriot. A true and correct
copy ofthe Lease Agreement Area is attached hereto and incorporated herein as
Exhibit"B."

15. On August 17,2005,Patriot assigned its rights in the Huffy #1 Well to
Mountain V.Oil and Gas,Inc. A true and correct copy ofthe Hackett Prospect
Area Agreement is attached hereto and incorporated herein as Exhibit"C."
        Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 8 of 67




 16. On or about February 15,2008,Patriot assigned its deep rights in the
 Hackett Prospect to Range Resources. A true and correct copy ofthe Assignment
 is attached hereto and incoiporated herein as Exhibit"D."

 17. On April 17,2008 Patriot and Hayward enter into an agreement wherein
 Hayward received an overriding interest of 1.5% in deep wells and 2% in shallow
 wells in all prospects with Patriot. A true and correct copy ofthe Agreement is
attached hereto and incorporated herein as Exhibit"E."

 18. From November 17,2009 to November 23,2010,Defendant Mountain V.
assigned all oftheir remaining interest in the oil and gas leases in the Hackett
Prospect to Defendant Range in a series offour assignments. A true and correct
copy ofthe Agreements are attached hereto and incorporated herein as Exhibit
"Fl-4."


19. On or about December 1,2013 Defendant Mountain V. assigned to Plaintiff
and his partner an overriding royalty interest in the Hackett Prospect. A true and
correct copy ofthe Agreement is attached hereto and incorporated herein as
Exhibit"G."

20.    In March and July 2014,Defendant Range Resources drilled wells in the
Hackett Prospect area. To date. Range Resources drilled one vertical and twenty
horizontal Marcellus wells in the Hackett Prospect area.
        Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 9 of 67




 21. On or about August 28,2014,Defendant Mountain V. assigned to Plaintiff
 an overriding royalty interest in the Hackett Prospect area as outlined in the June 1,
 2005 lease agreement area. This was done purportedly because Range rehised to
 acknowledge the legitimacy ofthe overriding royalty interests created to date. A
 true and correct copy ofthe Agreement is attached hereto and incorporated herein
 as Exhibit"H."


ROYALTYPAYMENTS

22. In 2014,Plaintiff and his partner began receiving payment for their
overriding royalty interests of 1.5% each from the deep wells drilled on the
Hackett Prospect Area by Range Resources.

23. In 2019,Plaintiff obtained and reviewed royalty payment statements
outlining the pajmient ofthe overriding interests. Therein, it was discovered that

Defendant was improperly deducting production costs. A historical analysis of
those payments revealed that Range began deducting post production costs from
PlaintiffHayward's gross royalties derived from the wells on the Hackett Prospect
Area beginning in year 2014.

24. Continuing to present, Range increased their post-production costs from
Plaintiffs gross royalties on the Hackett Prospect area. The deductions fluctuated
monthly without cause, explanation orjustification.
       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 10 of 67




 25. Plaintiffestimates that Defendant Range Resources deducted approximately
 $533,183 from overriding royalty payments properly due and owing to them. This
 amount is based upon statements and tax documents supplied to Plaintiff by
Defendant Range.

26. Plaintiffs named business partner(Frank Lotito)received reimbursement
for the same monies previously withheld from Defendant Range when the error
was pointed out to Defendant Range. Despite demand,Plaintiff has not received

reimbursement for these unlawfully withheld funds.

27. Plaintiffs overriding royalty interests were to be free of costs and deduction
by operation oflaw and by the terms oftheir agreement.

                     COUNT I- BREACH OF CONTHR ACT

28. The allegations contained in the previous paragraphs are incorporated herein
by reference as ifthose paragraphs were set forth at length herein.
29. Breach of contract is defined as the violation ofan obligation or
engagement.It is the nonperformance ofany contractual duty ofimmediate
performance. To assert a claim for breach of contract. Plaintiffmust allege;
            a. The existence ofa contract to which the plaintiff and defendant

               were parties, including its essential terms;

            b. A breach of a duty imposed by the contract; and

            c. Damages to the plaintiff as a result ofsuch breach.
           Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 11 of 67



 30. Plaintiff and his business partner entered into various overriding royalty
 interest assignments with Defendants. A true and correct copy ofthe assignments
 are attached herein.

 31. The agreements between Plaintiff and Defendants set forth in the form of

 compensation for work completed in the form of overriding royalty interests on
 certain tract and/or parcels ofland.

 32. Plaintifffull and satisfactorily conformed to the work that was required by
him as geologist for Defendants.

33. Plaintiffcomplied with the terms ofthe agreement with Defendants, as
accepted by Plaintiff, that Plaintiff was to receive numerous overriding royalty
interests as compensation for work performed.

34. Overriding royalty interests by the terms ofthe agreement are to be paid free
and clear without deduction for production costs.

35. Defendant Range began deducted costs from monthly overriding royalty
payments to Plaintiff.

36.    These amounts are in excess of$533,183 as it relates to Plaintiff.

37. The parties hereto executed a valid binding agreement. Defendant Range is
successor in interest to the rights and obligations assigned by Mountain V. and
Patriot.
       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 12 of 67




 38. The terms ofthe agreement have been violated in Defendant Range's failure
 to pay royalties free from deduction of costs.

 39. By reason ofDefendants' breach.Plaintiffsustained direct and

 consequential damages in the form oflost revenue.

       WHEREFORE,the Plaintiffprays forjudgment against the Defendants for
 all lost revenue from 2014 to current in the amount of$533,183, and for aU costs
incurred by Plaintiff as a result ofDefendants' breach, and such further reliefthe
Court deems as just.

                           COUNT n-CONVERSION

40. The allegations contained in the previous paragraphs are incorporated herein
by reference as ifthose paragraphs were set forth at length herein.
41. Pursuant to agreement ofparties. Plaintiff had a clear property right in the
payment ofroyalty interests, without deduction. The same right is set forth and
delineated in the public record as more fully set forth above.
42. Defendant Range Resources, as successor to the underlying interests in the
subject oil and gas rights, is obligated to pay the same.

43. Accordingly,Defendants deprived Plaintiffofhis property interests.
      WHEREFORE,the Plaintiffprays forjudgment against the Defendants

restoring his inherent rights to monies unlawfully withheld and deducted
       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 13 of 67




 purporting to be post-production costs in the amount of$533,183,plus fees,
 interest and costs.

                       COUNT m - TTN.nTST ENRTrHMiriVT

 44. The allegations contained in the previous paragraphs are incorporated herein
 by reference as ifthose paragraphs were set forth at length herein.
 45. Defendant Range deducted production costs from Plaintiff's monthly
 overriding royalty interest payments.
46. Based on prior agreements between parties and application ofthe law
regarding payment of overriding royalty interests, Defendant Range was not to
deduct production costs from Plaintiff's overriding royalty payments.
47. As a result ofthe aforementioned,Defendant Range has become unjustly
enriched at Plaintiffs' expense.

      WHEREFORE,the Plaintiffprays forjudgment against the Defendant
Range in the amount of$533,183 to William C. Hayward and/or Hayward Natural
Resources, plus any and all fees,interest and costs.




                                                   Respectfully submitted.



                                                   By:
                                                       Chad Schneider,Esq.
      Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 14 of 67



                                          VERIFICATION

        I hereby certify thatthe statements setforth in the foregoing document are tme
and correct based iq)on my personal knowledge,information and belief. I understand that
the statements given are made subject to the penalties of18 Pa. C.S. Section 4904,
relating to unsworn felsificatimi to anthnririfig


                                                    WILLIAM HAYWi!
                                                    President/Owner

DATED:
         ihjw/
Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 15 of 67
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         1\ IncaseAgreementArea. The parties hereby designate aLease.Agreement Aresi-whidi
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        5). Indemnttv. Pabdotriiall indmnnify, and shall save and bold harmless the Getdogist
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      '"-.>6'). "Entire ngreement. . This Agreement contains the-entire*agreement aniong the parties
 regarding 'thesubject matter hereof, and there ar.e.no otber'undeistanjdings dr agreements regarding
 the s^ject matfe hereof other than as set fofthhereim TMs Agreement may only be TrlnriifiM or
 amerrded by Un^instrument in writing signed by'tiie pariy to be riiar^ thonwith.

          7). Geologic Services. Geologist.'will provide theibUowing.geolo^c st^ces to Patriot
                     a). Aid in the coordination and direction of leasiag activity as requested by Patriot
 witbin the project area.
                     b). Coordinate all geologjo activity asrequested byPatriot \wfhin tiieproqjectarea in
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 and log analysis.
                     c). Aid in the perforation design and foac-design of drilled weUs if requested by
Patriot
                     d). Suild and maintain a geologic base-map of all well activity and potential
resOTohs wi^-the prospect area.

      ^ SV Spccessors and assigns. TbisAgreementandaUofitstennssl^bebindmguponaud
iih^lnnrd* to tim benefit of fiie parties hereto and to their reqjective partners, joint.ventures.
Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 16 of 67



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                                                      ,and intending to.be legally bound hereby.



                                                                                                                  CSBAId'
                                                              William jC.Hawar^



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                                                              PATRIOT EXPLORATION CORP.
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                                         ASSIGNMENT AGRgFMFMT

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                     EXPLCKATION, CORP.


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                        Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 20 of 67




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Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 21 of 67


                                ANPUM OF FAHMOOT AGREEMENT


            TBS MBMORANDIUM OF FARMOUT A<S£BMENT C^emonm^am"), date4 as of
    the 13f]i          0f Fabtusiyi 200Si by and beCare^ JOHN STIIiSJSy, DBA FAliRIOT
    £3S^BATI0N. with an adifoess of 1384 State Route 711, Stablstown, Pennsylvania 15687
    ("Faniun^, and SANGB m^OURCBS - A^AJLACHIA,UjC, with an address of 125 State
    Roato 43, Hartville, Ohio 446324)550 '("Fannse"), Stall evidence an agrceiji^t of even date
    herewith,whereby l^nnor has ibimed out certain oil and gas leases to Fannee so that Farmee niay
     the EUc fbnuation(the'^Fasmout Agreoment").



             1. For and in consideration of One Dollar ($1.00) and other good and valuable
     consideration, Fannee has       certain    ofF^morin those oil nnd gas leases in Greene,
     Washin^on and ivestmorehmd Comities, F^msylvaiila. said' oil and gas leases peitaiiiing to
     Washington Comi|y being ibtthv dascjjbed on Ej^jt*A",together with the right ofFannee to
     acquite fiom Fatmnr certain rights in any addhirmal oH mid gas leased hereafier acquired by
     Farmor wid^ Gre^ Wasidngtpn. and WeshnorelaBd CoimtiBS, Peimsylvania (coU^tively the
     Taimout Acreage^,for the jnniioso ofeaniing an interest in the oil and gas leases by condacting
     certain,operations es provided in the FarmDUt Agteemeni, said operations inohiding the drilling,
     campletion andprodn^on ofoil and gas wells,
             2.The term ofthe Fannoat Agreement afanll remain in effect milU Deeemhor 31,2008,and
     thetpailer eontimie in force and effect in nceoi^qe with Scotion 11 of die Fannout A^gcemeat
     unless tmnloated by Famioe's ihilnre to tiaiely meet the terms a^ conditions, of the Farmout

            3. In the I
     instrument exscated by the parties or shall be assigned or terminated in wy mamjor peimitted
     undertheterms and cqnditicsa thereof then witataiq'Rirther act eg instnunent whatsoever,this
     Memoisndum shall Jikewiao and to the same e£&at be amended, supplemented, asagned or


            4.This Memoiandmn shall not have the e&ct ofinany wsqt modi^ing,simplementingor
     abridging the Farmnut Agreement or any ofits proviaons as die same Is now or may hereafter be
     in force ernd effect, and the provisions of the Farmout Agreammit abaU oontrol in the event of
     conflict betwea) the provisions of the Farmout AgtMment and ^ose set forth in this

            5.'
     fhr recording a mmorandumoflsaso set forthinrl 405,TitIe21 ofthe Fonosylvania Statutes for
                                                                    isamc.


            IN WITNESS'WHEREOF,the parties hereto have settheir hands toduplicates hereofthe
     day and year Erst above written.

                                                           FAB^OR: ^
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                                                           SbaPajriotEmlmdoa

                                                           FABMEE:

                                                           Range Resources'* Appalachia,LLC




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Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 22 of 67


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    IKsrsontaiy appealed JoVra StilleyiimQWto me pr flatiafaetorlly prov^ to the pwaoa whoso
    name is snbscribed to the wi&in iBstnnnent and acknowledged to me that he did execute the
    foiegoing instnftnent and that the samtsls hisfSree act and deed
            IN TESTIMONY WHEREOF, I have hereunto set tay hand and official seal at
     fi\nyA<Hlrni.ir\           ,"HnnSftjlvflnttX. ■                    JSJatiituyj—.2008.
    My Conuwisslon Expires;

     COMMOtlW^THOPPEIWaw^^
                                                  Notary Pnbll^
          CaelJ.
        SanegslJWpw

     MeiiAsr,

    STATE OP OHIO

    COUNTY QP portage

          BBFOBE MB, a Nopoy Public in and for said coun^ and state, peisonally ^ppeated
    I^Bay A. Bynum. Senior Vice President ~ Ltpid, ofBsai8eBesource8,-.^ppalBchla,LLC who
    acknowledged to me that he is a duly anthodaed officer ofsaid cmnpany.mdthai be did execute
    the fon^ing Instrument tmd that the same is his foee act and deed and tie fiee act and deed of
    said catpoiation.
            INTBSXIMONY WHIREQF,I hafe hereunto sot my hand and offii^ seal at HartviUe,
    Ohio,this JlTday ofJRsi
    My commiaaion expires;


                                                   Noi^Public

          DAVIO D.OAVIS,Attamey at Usf




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                                                                                                             "i>->nyWiiaWl




                                           MEMORANDUM OF AGREEMENT

      * KNOW ALL MEN BY THESE PRESENTS THAT tbB follovrios"Memorandum of Agreom.ont", is made
and entered into by and between Wiliam C. Hayward. Hayward ]<8tiKal Resources. Inc. a Pennsylvania.
Corporation (?oUe«tvely "Qeologigt"). of 130 Longvue Orive. WWte OaJt,PA IS131,

                                                             N



John M. Stilley dba Patriot Baploraiion,Patriot SupioratioB Corp., n PenWlvania Coiporstion (coU«ative}y
"Patriot"), of 1384 State Route 7U,Stahlgtown,PA.

             (1) DATE: ■ Satd Agreement befaiK dated(heVl'y>^ day of,,                   T*,' V ^ ■ 30008.             ■ -.
       (2) DESCRIPTION OF THE DEMWED-PRBMISpfe ALL,thnaejeflrtniltt piassa.jarcela or traeta of land .
loested In Qreene, Waatington, and Westmorolapd Conntiee, Pennayjvniria, as doa<irlbe(l in Bxbiblt A. attaoitod
hereto.

     (3) OVBRRIDINQ ROYALTY iNTERB§T, Patriot ehsil poy to Qoologiet an QverridtnB royalty("ORRV) ■
of(00% ofthe groag revenite, ig ell prodaetjiQS oit9i) and/or gas ftom aU wella drilled by Patriot on-acrease
deeribed In Exhibit A aa follows:
                          a   Sbeliow RSghts, from the Gurfaoe to tba BaseoftbaEne-2%, -
                          «   Deep Risbts.ftDm the Ease olthe.Ellt and alt fgimetion3dsepor~l%
             (4)This Memorandum of Agreement is Intendod for publie notice only, and it ahaU not enlarge or diininisb
the terms and conditions aei fbrtb in the Asfcament lietoin mentioned.

              IN WITNESS WHEREOF,intending to be legally bQtind b^by,°&e parties berate have caused this
Memorandum of Asreerorat to be exeeuted tbla ^/^Atdav of                                         .2008.

WIT^S:
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ATTEST:                                                          HAYWARD.NATURAL RBjSOURCES,INC.,
                                                                                                   SEAL)"
              Secretary

(CORPQRATE SEAL)



WITNESS:


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ATTEST:                                                      PATRIO


              Secretary                                      President

(CORPORATE SEAL)




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COMWOK^BAt-TH OF PJeUNSYLVANIA
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     .On (his _./^<3ny of                                     2008, before me, a Notary Public, the undersigned ofQcer,
personallyr- appeared
              -■      (jJiiliettuC, UHAfCt I      known to be or satisfactorily
                                                                              , proven
                                                                                -      to be the same persons '
whose names are svdiscribed to the foregoing instrument and in doe form of law acknowledged the ekeeotion of the
foregoing AfBdavit to be their act and deed for the porposes therein mentioned and desire that the same*might he
recorded'as snch.

                                                          my banjl^d'sesl
                                                             banjLa       the day and year first above wdtje^^

           pen^YV^VUaclriioEhndilkMi^                          NOTAI^PUBUC                               /;■
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COMMONWEALTH OF PENNSYLVANIA
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     orued to do so,, exsonted the foregoing instrutnegt for the pttrposeatheralfl oontahud,
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        On this _43today of.                                  , ?008. before mo, a Notary PnUie, the ondersigned ofBcer,
personally appeared il^Kt;! ji. .^iV u ,           fcisown to be pr satisfactorily proven tp be the samp.persons
whose names are aubsnribsd to foe farei^ing instrvment and in due forth of law acknowledged the execution of the
foregoing Affldevit to bp ihcii-aot and deed for the purpose# (heroin mentioned and desire that the same ihigbt ho
"reaorded as such,

                            WliEEEOF, I hereunto set my hehtLaad seal the day and year rirst above written,
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authorized to do so, executed (he foregoing instrument for the purposes therein contained,
        IN WITNESS WHEREOF, I hereunto set my hand and ofticist seal.

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   H, off November,2009,
   day                       ■ °F°
                   o™"r,^uby and         ®"-'-
                                 between MOUNTAIN   ("Assignmenn
                                                  V OIL & GAS INCis made
                                                                    a Westthis 17th
   Wgima corporation, with a mailing address of P. O. Box 470, Bridgeport, West Virginia
   26330(hereinafter called Assignor") and RANGE RESOURCES- APPALACHIA LLC
   a Delaware limited liability company, with a mailing address of 380 Southpointe '
   and IS based on the following premises:              15317(hereinaftercalled "Assignee"),

                                        Dollars 0,00)cash and other good and
  valuable cons^ratran.lhe receipt and ^Mciency oTwhfCh'are hereby'ackiTdWtetraed^^^^-"-'^^^
  fo°lDwlng^ grant,SELL, CONVEY,ASSIGN,and DELIVER unto Assignee all of the
                                         interest, representing a one hundred percent
                100%) working interest, In and to the oil and gas leases and lands
            (Leases) described on Exhibit "A" attached hereto and made a part
            hereof, limited to those depths and formations lying below the top of the
            Rhinestreet formation, reserving unto Seller an overriding royalty Interest
            equal to the difference between existing lease burdens of record and
            eighteen percent (18%) delivering unto Buyer a minimum of an eighty-two
            percent(82%) net revenue interest in the Leases.


 conditioiS-^^^^                          Leases forever, subject to the following terms and
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 Assignor            ^Q'^ALTY:    Theinoverriding
                            and paid    the sameroyalty
                                                  mannerInterest
                                                          as theherein
                                                                 lessor'sreserved  by
                                                                           royalty under
 the Leases. In Je event any of the Leases cover less than the entire mineral estate In
-thelands^deseFibed-thefem or Assignor owffis less than afuH-jntefesHn-any-ofthe
  Leases. Assignee's overriding royalty interest shall be proportionately reduced.
 2-       ^^BSANTIES: THIS ASSIGNMENT IS WITHOUT WARRANTY OF TITLE
 EXPRESS.STATUTORY OR IMPLIED AS TO DESCRIPTION TITLE CONDITION
                             merchantability,fitness for a
 purpose, OR OTHERWI^                        that seller SHALL WARRANT AND
                      A        leases against EVERY PERSON WHOMSOEVER
                                                 PART THEREOF BY, THOUGH OR
 UNDER SELLER BUT NOT OTHERWISE.

f.timely AS^MPTION     of OBLIGATIONS: Assignee hereby assumes and agrees to
         perfbnn and discharge all duties and obligations of the owner of the Leases
 excluding such obligations and duties associated with the Excluded Assets, on and after
tne date hereof.



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       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 39 of 67




       ^               OTHER CONTRACTS AND AGRgEMEMTS- This Assianmenf i«;
                                  "iy Ass'snee subjectto all the temis. cove^tSrand
 conAbons ofthe Leases descnbed in Exhibit"A"and to the terms covenants and
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 protection            rerorded in county andagreements    affecting
                                              state In which.the     the Leases
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                      /Tw              the parties hereto, and the provisions of said
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bind.and
      .SUCCESSORS       AND ASSIGNS:
         Inure to the benefit ofthe partiesThe terms,
                                            hereto andcovenants,  and conditions
                                                       their respective          hereof
                                                                        successors and
assigns and are covenants running with the lands, leases, equipment, and facilities and
wth each transfer or assignment thereof or any portion thereof. All future assignments
of any portion of the Leases shall recognize and perpetuate the rights and obligations
set out herein.


           EXECUTED thisJtday of November,2009.
MOUNTAIN V OIL & GAS,INC.                    RANGE RESOURCES APPALACHIA,LLC
a West N^lnia^rporation..                    a Delaware limited liability company

Bvr'
 / S.TOIIchaeTShav^
           President
                                                                 Land, Appalachia




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      Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 40 of 67




  COMMONWEALTH OF PENNSYLVANIA,                  §
                                                 §
  COUNTY OF WASHINGTON

         This Instrument was acknowledged before me this 17th day of November,2009,
  by S. Michael Shaver, President of Mountain V Oil & Gas,Inc., a West Virginia
  coipotadon, for and on behalf ofthe corporation.



                                                            OTARY PUBLIC
 (NOTARY SEAL)
 My Commission Expires: A IL                                   NOTARIAL ffiAL
                                                              VAURIERCROW
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                                                      CECIL TW>, WASHINGTON COUNfy
                                                     My Commission Expires Jan 16,2012 j



 COMMONWEALTH OF PENNSYLVANIA
                                                §
 COUNTY OF WASHINGTON                           §

       This instrument was acknowledged before me this 17th day of November, 2009,
 by Jeflery A. Bynum, Vice President - Land, Appalachia, of Range Resources -
 Appalachia, LLC,a Delaware limited liability company,for and on behalf ofthe company.


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                                                        NOTARY PUBUG
(NOTARY SEAL)

My Commission Exoires: I                                      NOlAfilAl SEAL
                                                             VALERIEU CROW
 Fl^e Tetum recordira docimenrto:                             Notary Ttibltc
:Range Resources - Appalachia,LLC                    CECIL TWR WASHiNSrON COUNTY
        125 State Ricrate 43
                                                 [Mj^Contmlasten Expires Jan 16,2(IT2
          PO Box 550
       HartviUe,OH 44632
This instrument was'prepared by Charles J. Kaiser, Jr., Esq. and PHILLIPS, GARDILL
KAISER & ALTMEYER PLLC.,61 Fourteenth Street, Wheeling, WV 26003

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            THIS ASSIGNMENT, DEED AND BILL OF SALE f"Asslanment"\ ie maHa thso
      Of Febwary, ^10, by and between RftOUNTAIM V OIL & OAS, INC a Wes^^inli'
                                   sddress of P. O. Box 470. BrldbXt fe ^Sn£
      i^erel^after called "Asefgnor")and RANGE RESQUR[CES<-APPALACHIA LLO. a Dniau/aiu
      Hmited liability rampany, with ,a mailing addrass of 380 Southpolnte Boulevard Suite 300

             Assignor In considjeration of Ten Dollars (SIG.QO) cash and other oood and uaiirahio
      GRANT,SELL,.CONVEY,ASSIGK and DELIVS? unto Asslgnee aeknowTedged,     does hereby
                                                          all of tee following:
                                    ^1*®'     Interest, representing a one hundred oeiKent
            Hparri^ T EPhS^'SS'             ^                                   ^                  (Teases")
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     cor^dltJrS*'^'^^^                       Leases forever, subject, to the foHowtrig. terms and
     Ih„M                              The.overrlding royalty interest herein reserve by Assignor
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     ^             Leases t^yer less than the entire mineral estate in the lands desorlbed therein
                             rSu"o^I                              Asgl®,ee^ overtdlrtg ,»ya«y

     LOCATfON. QUALITV. MERCHANTABILITY. FITNESS FoTa pA^^
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     THE LEASES AGAINST EVERY PERSON WHOMSOEVER^ LAWFULLY CLAIMING THE



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No¥emD.er, 2Q09 by ahd between the parBeS hereto, and the praivlslons of said Agreerherit
are Incorporated herein byraferance as fUHyas thoughrSatd pnovl^ons were set forth herein
verbatim.

a.                             ASSIGNS: The terms, covenants, ;dnd oonditions hereof bind
and   Intire IpTlie beneflt     parties hereto and tfidlr respective)
are covenants running wito-the lands, lease, eqEj^rnenit, and faGilides and with earfo fransfer
or asslgnmerit thereof di? anj( fifofBoh thereof. Ait future assignmento of any portion of toe
Leeses Shall reoogfilze arid perpetuate toe rights and obligations set oiJf herein.- '
                              Ipay Of February, 2010.
M.OiMNTA|N V C^L & 6AS, JNC.                     R^GE RESOURCES - APPALACHIA, LLC


                                                                               :itim
        President;                                                               t- Land,.A3bpaJecHra




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                 Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 44 of 67




  STATE QFiWEST VIRGINIA

  COUNTY OF               \^or^

        This instrument was"acknowleidged before miS this     day of February, 2010, hy S.
  Michael Shaver. Presidentof Mountain V OII& Gas, Inc., a West Virginia corporation,forand
 on bohaif of the coiporation;



                                                            NOTARY PUBLIC
 (NOTARY SEAL)
                                                                      GmcllTSEU.
 MyCommission Expires:,:To\>                                   MAm(E»CH»ISTQi>HERIil«IMA
                                                                    BO? V'lHWOOD PLACE




STATE OF OHIO                          §
                                       S
COUNTYOF PORTAGE
               | •
            This instrument was aclmowledged b^or© rne this I                of February, 2Q't[^ by
Jeffeiy A. Bynum, Vice President- Land, Appalashia, of Range Resources—Appaiachia, LLC,
a Delaware limited liability epmpanyi for-and on behalf of the^company.



iCNOTARYSEAL)
My Cammission Spires:,

                                                             PrgparBci byahfl when Recorded Return to:
                                                                   Range Resources-Appalaohia, LLC.
                                                                                     125 State Route 43
                                   Sia^ of OtJto                                        , P.O.BoxSSO
                                                                                   JHartviile, Ohio 44B32
                              July 4.2012


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                                              Page 3 of 3
                                     Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 45 of 67


                                                                                           EXHIBIT"A"


'Mr'fti:"iia.'-.:A' lUL'..'.-J. -.   -■"•.••:.-.-:i;.r.-,-      >>                                      .
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 Number.                      • Lessor-          .                                                                                                                luaso'                  "'kease
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              Michael Kusluiisa. Jir.andMaurBa»Ku8turiss Mountain V:Oa &Gas. loo;                   32aiQ08r<ai:()i}r0<ii4Di &
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                      by.and between   AND.BILLVOF
                                                OILSALE CAssignmeTrf')
                                                    & GAS, JMCW a Westis Vji^inia
                                                                         made teiscoiroiitfon!.
                                                                                    Vf^dav
        wfth.a malllnij address of R O. Box 470, Bridgeport; West Virginia - 26330.(hereinafter calied.
        "Assignor^') and RANGE.RESOURCES - APPALACHIA. LLC. a Delaware limited iiability
        •company, vwth a mailing address of 380 Southpainte Boutevard, Suite 300, Canohsbura
        Pennsylvania 15317(herelhaftefcalled "Assignee'^ and Is based on the following premises:
                  Assignor in consideration- of Ten Dollars ($10.00) cash and other good and valQable
        consideiedon, foe.receipt and sufficiency, of which are hereby acknowledged, does hereby
        •GRANT,SELL, QDNVEY,ASSIGN,and DELIVER unto Assignee all offoefollovwng;
                 .All pf Asslgrrorls right, tftje, and Interest, representing a one.hundred percent
                 •(100%)  working interest,.in and to foe oitaifo gas feases and lands C'Lea^s'V .
                  described on Exhjbit^A" attached herdo and made a part hereof; lilnited to those
                  depths and fermations lying befow the top offoe Rhlne^tformation, leSetvir^^
                  unto Assignor an overridlrrg royalty interest equal to the difference between
                 exl^hg tease burdens of record arid eighteen,percent (18.%), delivering unto
                 Assignee a minimum of ah eighty-two petdent(82%)net'revenue interest In foe
                 •I




             »            ■I               '     .
                 TOiHAVE AND TO HOLD the Leases forever, subjecf to foe followirig terms and
        conditions: •
                      ,                      .       ^                     ,             *•



                 OVERRIDING RQYALTyr TheQv^rrM}ni| myaSyInterest herefortiservectbyVfeslgnor
        shafii>e cdiculated and paid in thesame manner as foe lessor's royalty under the Leases. In
        ^le event foe Leases cover less foan foe entire mineral estate In the.lands described.therein
        or AsslgncET owns less than a-foil interest in.the Leases,Ass^nee's overriding royat^ Interest
        shall be proportionately reduced.
        2.       yVAj^RTIgS: THIS ASSIGNMENT IS V^THOUT WARRANTY OF tiTLE
        EXPRES;% .STATUTORY OR IMPLIED AS TO DESCRIPTION, TITLE, CONDITION
        LOCATION, QUALITY, MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE'
        OR OTHERWISE, EXCEPT THAT ASSIGNOR SfWLL W>tftRANT AND DEFEND TITLE TO
        THE LEASES AGAINST EVERY PERSON WHOMSOEVER LAWFULLY CLi^MING THE
        SAME OR ANY PART THEREOF BY, THOUGH, OR UNDER ASSIGNOR BUT NOT
        OTHERWISE;




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              Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 47 of 67




     , ASgjiynON
   perform and djschafgeOF   OBLIGATIONS;
                         ail duties           Assignee
                                    and obligations of thehereby
                                                            ownerassumes   and agrees
                                                                  of the.Leases,       to timely
                                                                                 excluding such
   dufiw-and obligations associated vwth the rights in and to the Leases reserved and rained
   by Assignor hereunder,.on and after the date hereof;

   by'Assignor
         L^SES^AND
               and other
                      by contracts    AMDtoAGRFFMF^f^g■
                         i^slgnee subject                    Thic and conditions of
                                           all the temis, covenants
   the Leas^ descnbed In Bthibit "A" and to the tenns, covenants and conditions of the
   instruments contracts and agreements affecting the Leases -or production therefrom
   tecOTded. in. tee opunty and state to. which the Leases are located, and tee same shall bind
  Assignee fnd-A^gnee'S successors and assigns on and after .the date hereof.
        observance of LAWS: This Assignment is subject to all applicable laws
  ordinance^, rules and regulafions affectiiig-the Leases, and Assignee shall comply wite tee.
  same and shall promptiy obtain and maintain all permits required by govemmental authorities
  in connechon therewith.

  ^ IjEADiNQS: Titles and headings in this Assignment, are included solely for ease of
  reference pnd are not to be considered In interpretatiori or construetfon of this Assignment
  J' „ PLIRCHASE
  to tee provisions OfAiy
                       that*sale  agreements;
                             certain Purchase andThis
                                                  SaleAssignrhent
                                                        Agreementis dated
                                                                    expressly
                                                                          the made  subject
                                                                               12th-day  of
  November, 2009 by ^d between tee parties hereto, and tee provisions of said Agreement
  are incorporated hereiaby reference ds fully as though said provisions were set forth herein
  verbatim. ;
         SUCCESSORS AND ASSIGNS: tTfe terrns, covenants, and conditions hereof bind
  and irmrer-to the'beriefit-of the parties |ieiretb..and their respectere successore and assigns and
  are cdyenants running with the lands; lease;; equipment, and facilities and with each transfer
  or assign^nt thereof or any portion teefeof. All ftiture assignments of any portion of tee
  Leases shall recognrze and perpetuate the rights and obligations set out herein.
       EXECUTED this          dav of April. 2Q10
 MOUNTAIN V OIL & GAS, INC.                                RANGE RESOURCES^ APPALACHIJL LLC



           S. Michael Shaver'^''           ^           .       W. Worth Cariln-       ■            Op/).
           .President ;                .                       ^rfc© President-H.Land; Marcellus Shale-




■ VieUadUgUflltniaMaMonlih vmwoHCgk^
                                               Psse2 ofS
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             Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 48 of 67




 STATE OF WEST VIRQINfA

 COUNTY OF                                                                 §
           Tht? instalment was acknowiedged before me.this                                   day of aPRIL, 2010, by S.
 Michael Shaver, President of Mouhtein V Oil & Gas,.Inc., a West Virginia corporetion,for and
 on




                                                                                    iARY PUBLIC
 (NOTARVSEAL)

 My Commission Expires:




COMMONiAEALTH OFPENNSYLVANIA                                              §
COUNTY OF.WASHINGTON                                                      §

           This instrument was ackriowledged before methis                               day of April, 2010, by W.Wforih
CaHirt,. VIcp President — Land, MarceHus Shale, of Range Resources ^ AppaladiEa,rLLC, b
Delawarelimits Itabifitycompar^^for and bti behalfof the company. . .

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(NOT/U^YSEAL) . .
MyCommi|ssionEsqiires:.hJL-


                          NOTARIAL SEAL                                            Prepared by ^dvtrtien Recorded Return,to:
                        •VALERIER GROW                                                                   i-Appalachia,'U.C
                          Nolaiy'Pubne                                                               , 380 Soimpointe Blvd.
               C^CIL 1WR WASHINGtCN COUNTY                                                                        Suite 300
            WyjCommteiton Expiresyon 16.2012                                                         Canonsburg, PA 15317




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                                                                                EXHIBIT'W*



                                                                              Reconfad                                                       Lease      Les»e
Number                                                       Les^               Date            NfcetlD«         Instrumeniff   Lease Date
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 Of
 f                      ^ 2010, by and between MOUNTAIN     Assjgnmenf)
                                                                  V OIL &is GAS,
                                                                            made INC"^lAfest
                                                                                  this ..^day
 Virginia corporation, with a mailing address of P. O. Box 470, Bridgeport West Virairife 28:^0
 (hereinafter called "Assignor") and RANGE RESOURCES - APPALACHiiS 11 r I n«i?
 nmM lability oompapy, with a mailing adSST^Tso^E^^Zte^'
        teignor in consideration of Ten Dollais (510.00) cash and oiher good and
 msiderabon, the receipt and suffldency of which are hereby acknowiedced does herafav
 GRANT. SELL. CONVEY, ASSIGN, and DaiVER unto Assigns ailSSSingr ^
                                                   '^Pf'esentlng a one hundred percent
        yOO /^ worlai^ interest, in and to the oil and  gas leases and lands ("Leases")
       £nfh
       depths aridH formations
                    If           attached
                               lying belowhereto
                                           the topand  made
                                                   of the   a part hereof,
                                                          Rhinestreet      limitedreservlnq
                                                                      formation,   to those
       unto Assignor an overriding royalty interest equal to the difference between
       exisflng lease burdens of record and eighteen percent (18%), delivering unto
       Assignee a minimum of an eighty-two percent (82%) net revenue interest In the

                                                      forever, subject to the following terms and
conditions


l'                                      overriding royalty Interest herein reserved by Assignor
fh« event any_of the Leases
fte                     ^ coyer less than the entire mineral estate in the lands the Leases.
                                                                                      describedIn
f hereyi onOissignor owns less than a full interest In any of the Leases, Assignee's overrldinq
royalty interest shall be proportionateiy reduced.
Z ^^BRANTIES: this ASSIGNMENT IS WITHOUT WARRANTY OF TITLE
EGRESS, STATUTORY OR IMPLIED AS TO DESCRIPTION TITLE CONDmON' •
LOCATION, QUALITY, MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSf'
?hi=°7£Fc«    exceptEVERY
THE LEASES AGAINST   that ASSIGNOR  SHALL WARRANT
                          PERSON WHOMSOEVER        AND DEFEND
                                                LAWFULLY      TITLETHF
                                                         CLAIMING   TO
                                                                "n6^^'gnoTbut fSI
Lnn^fnH
perform and dischaige^all diAes and obligations
                                            Assignee
                                                  of theheieby
                                                         ownerassumes   and agrees
                                                               of the Leases,         to timely
                                                                              excluding    such
obligations and duties associated with the Excluded Assets, on and after the Effective Time.
        Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 51 of 67




       leases and other contracts and AGREEMENTS: This Assignment is made
by Assignor and accepted by Assignee subject to all the terms, covenants and conditions of
the Leases described in Exhibit "A" and to the terms, covenants and conditions of the
instruments, contracts and agreements affecting the Leases or production therefrom
recorded in county and state in which the Leases are located, and the same shall bind
Assignee and Assignee's successors and assigns on and after the date hereof.

5-    OBSERVANCE OF LAWS: This Assignment is subject to alt applicable laws,
ordinances, rules and regulations affecting the Leases, and Assignee shall comply with the
same and shall promptly obtain and maintain all permits required by governmental authorities
in connection therewith.

6. HEADINGS: Titles and headings in this Assignment are included solely for ease of
reference and are not to be considered In Interpretation or construction ofthis Assignment.
7. PURCHASE AND SALE AGREEMENTS: This Assignment is expre^ly made subject
to the provisions of that certain Purchase and Sale Agreement dated the 1?th day of
November, 2009 by and between the parties hereto, and the provisions of said Agreement
are Incorporatjed herein by reference as fully as though said provisions were set forth herein
verbatim.

8.    SUCCESSORS AND ASSIGNS: The terms, covenants, and conditions hereof bind
and inure to the benefit of the parties hereto and their respective successors and assigns and
are covenants running with the lands, leases, equipment, and f^liities and with each transfer
or assignment thereof or any portion thereof. Ail future assignments of any portion of the
Leases shall recognize and perpeUiate the rights and obligations set out herein.

            ^UTED this       day_of_^i?//>^/gg .2010.
                  L&GA                         RANGE RESOURCES-^^ALACHIA,LLC

      S.Mchael Shaver                                 W.Worth Carlin
      President                                       We President-Land,Appalachia
                                                                                 EXHIBIT A
                                                                  WASHINGTON COUNTY,PA LEASES

LEASE ID                                                                       RECORDED           PARCEL ID            INSTRUMENT                COUNTV     TOWmSHfP
           JOSEPHW s     ORE A.MOLE                 MOUNTAIN V OIL&GAS,INC,     U12«0Q6       SBD-IX)8-00.00-(n49J>S    200601053   l/SQODB    WASHINGTON
                                                                                              580J)084a<ODJl()4aj>4
           THE BAGAH FAMILY REVOCABLE LWIRS TRUST   MOUNTAIN V OIL & GAS,INa    1/12(2003                               200601055   1/5/2009   WASHINGTON   SQMERSE1
                                                                                                                                                                       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 52 of 67




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            Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 53 of 67
i •




      STATE OF WEST VIRGINIA                           §
      COUNTY OF Uarrteoh                      |
            This instrument was acknowledged before me this        day of DcCCVTlt^raoi0
      by S.Michael Shaver,President of Mountain V Oil & Gas, Inc., a West Virginia corporation,fbr
  and on behalfofthe corporation.


                                                     C/     NOTARY PUBLIC
  (NOTARY SEAL)
  My Commission Expires:4teabfiL21ol£)|^
                                                                  STAreOFWES^ffiOlNIA
                                                                      JULIE R.BLAKE
                                                                          K1Bi»«44




 COMMONWEALTH OF PENNSYLVANIA                      §
                                                   §
 COUNTY OF WASHINGTON                              §
          This Instrurnent was acknowledged before me thls^^day of                           2010,by
 W.Worth Carlin. Vice President- Land, Appalachia. of Range Resources-Appaiachia, LLC.,
 a Delaware limited irabiHty company,for and on belialf ofthe company.

                                                           NOTARY PUBLIC
 (NOTARY SEAL)
 My Commission Spires:

                                                             , Prepared by and when recorded return to:
             AnnM.iSasbanfifl Hotaiy Publio
             .Cedl     WMMngtea County
                                                                  Raige Resources-Appaiachia, LLC
                                                                                 380 SouHrpointe Blvd.
                                                                                             Suite 300
                                                                               Canonsburg, PA 1S317
                Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 54 of 67




                                                                                 EREST




    »    fto m Moet         V OIlKaI         mc.. ;    Wes.
    BndgepoH, West Virgima,26330(herder referred to as "Assitmo?""

                      C. HayWAM,a Pennsylvania resident with an address of 130 Longvue Drive
    SwSy                                            ("Hayward") and EVEREST EXPLORATION
                           ii'                              company, with an address of 132 twin Oaks


                             1, ^ignor and /^gnees are parties to that certain Lease Agreement Area,
   J
               intej^t m all production of oil and/or gas from all wells drilled by Assignor on certain
               • .    -.         7   .                                      4444^ At-z/w LU CVCICOll OI IDc


   acreage withm certain areas of Washington Coun^,Pennsylvania("Wells"'!:
                WeEMAS,^si^or has drilled the Wells and is producing oil and/or gas from the


        A                                     ^ ®®sign (a)an undivided 1.5%(1.5% of 100% of cross
                     1 Si^,S/                   sas produced from the Wells to Hayward and (b) an

               NOW,IBSmPORE,in consideration of the above-recitals, as well as for other cood
      SSld.'^S'r
(a)M undivided                    grant,(1.5%)
               one and one half percent  bargain,
                                               ORRI       aclaiowledged
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       t                                   the Wells to Haywaid,his valid successS and Ls^rLd
(b)an undivided one and one half percent(1.5%) ORRI fl 5% nf ton"/. rtf<Tr«e.e «          'v •
 aUtteoUand/orgasproduced fern's:
      This              may be esecuted in one or more counterparts, each of which shall he
deemed an ongmal, but all of which together shall consUtuteone and the same instnunent

                                                                                     EXHIBIT



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       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 55 of 67



         IN WI'l'NESS WHriRfiOF.the undersigned have executed tliis instrument on the day and
date first
       "«;l above     written.
            JlhrtVJ'v Wfirtirvn




ASSKiNOR:

ATiEST:
                                                                                INC.

                                                  Bv.jy/'
                                                   1 itle:
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ASStCiNEK

Arrf-ST;                                          EVEREST EXPLORATION COMPANY.
                                                             LLC


 Tell LoveUct                                     Name: I'rank
                                                  Title Pre.sidct>r


WrrNKSS:




                                                  William C. Ma\'\vard




                             [ACKNOWLEDGMEKT PAGE FOLLOWS)
        Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 56 of 67




                                        ACKNOWLEDGMENTS

 STATE OF                VlfjA,.v.                           )
                                                             )SS:
 COUNTY OF tj,lhrl<nK                                        )


         On ihis. the .            day^of J^cmh^                                hcfoie ine. the underaisjined
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 iVip   'P         '4. ■ ■
               -j Jti-          —rtf                        wno acknowledged     himscU" to
                                                                                         to be
         ir.cs£d^
         -Lr-fCfcL               of Mountain V Oil and Gas,Inc., aacknowledged
                                                                    West Virginiahimscir    be
                                                                                  corponiliott.
   0 n to me to be tlic peitson and officer whose name Is subscribed to the forcuoing instrumcnu
 and acknowledged to me that the same wus the act of said Mountain V OH and Gas, Inc.. a
 niirnL -'S!?'f
 piirposL                                e.Kcciilcd
          and considcraUon therein e,\prcssed, tmd inthethesame as thetherein
                                                            capacity    act ofslated.
                                                                               said corporation for lite
        IN TESIIMONY WHIZREOF. 1 have hereunto set my hand and official seal at
                                            ihis_5.4;^ day of                          .2013.

 My Commission E.xplre.s:
                                                         f ^lary Public
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                                                                                        nOTflRYPCSUC
                                                                                       J-WKsai^lBW



COMMON WE/\LTH OF PHNNSYIVANIA                             )
COUNTY Ol-



                    -t~r
offictr personally appeared                              2a 7.himself
                            Frank J. Lotito. who acknowledged   beforetoinc.
                                                                          be the undcisigiied
                                                                             the President of
E^cjcst Explorarion Company, a Pennsylvania limited IfabUitj' compam-. known to me to be
the pcreon and officer whose name is .subscribed to the foregoing instrument, and acknowledged
o that the .same wa.s the act of said Evere.st Exploration Company,a Pcons>'lvania limited
habihty company Md that he executed the .same as the act ofsaid corporation for the purpose
and coasideration Ihcrcm expressed,and in the capacity therein stated.
                             WHERE01-, I ha^^ hereunto set my hand and official .seal at
—Zywfyin /1«=>           Pennsylvania,this f2 day of                              .3013.


My Commission Expires: J^4UL (o^ 2.0Uf
                                                                              Public



                                   COMMONWEALTH OF PENNSYLVANIA
                                               NOTARIAL SEAL
                                        John J. McGufgan, Notmy Public
                                     MunysvHlQ Boro, Wostmonaand County
                                      My Cominii-.£i<in Expires June S.2Q15
               Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 57 of 67




     COMMONWEALTH 01- PHNNSYr.,VANflA                            )
     COUNTY GT                                                   j

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                                                         2013, before me,
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   My Commission Expires:
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                                        ■       n, •?■                 Notary Public
                                                   Os!; Eofo., AiJsghany County
                                            My Commissioii BiBres January 19 a>16




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                                                                                       Stimner#2>P097                  37-12S-227ia
 t S80^iO-fflMW)0ll7-O4 \ 8/3/200S j 200630701 H WasftlnBtonl
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                                                     Washtrgton

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   580j)!a-OQ-QO-0030!-00   5/29/2007   2007^960                                      Wteelc«l-{>20B                   37-125-23219
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   58O-0Q8-0frO{M)046-Ol    8/10/2005   2005401445   WasWnfitoh                       The Atoe Company,Inc;81-7148
   S804CTa-00-(»-0046-02                                                                                              37-125^22803
                                                                                      The^oe company.Inc.82-P177      37-125-2280S
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   S8iH>QiM(M>0-OD46-04                              Wadtlngton

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   5S0-OO4-Oa-ClM)O73.on                                                                                              37-125-23830
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I 53<M10!H)0.flO-0004-03 { 5/23/2007|200716863 j Washington I        Mottlneham      {6uild#l-P212_
                                                                                                                      37-125-23699
   52O4igfrO»OIMI01»Ol i yiS/20P7
                               |  200726032 LWtejhlngton
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I SgQ-CDS-OO-ftMOM-OQ I 3/15/2007 1 200716031 I Washington I        Worth Strahane
                                                                                                                      37-125-23986
                                                                                                                                      Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 59 of 67
                   Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 60 of 67
 RSV-iSsBC(04-10)
                                                                                                              RECORDER'S USE ONLY
                                               REALTY TRANSFER TAX                                   state l&x Paid
          Pennsylvania
 aaa OEnunnEMTIlF REVENUE                      STATEMEOT©F¥ALyE                                       Boole Number

          BureauofIndividual1^X65                                                                    Page Number
          POBOX-280603
          Harflsliurg,PAl7l38Hi603                     See reverse for instruct"ons.                 Date flecorded
                                                                                                                                       M.
 Complete each sectloriand filalrt duplicate with Recorder of Deeds when (1)the full value/conslderaBon Is not set forth In the deed,(2) the
 deed Is without consldetafion or by gift, or(3)a tax exemption Is claimed. A Statement ofVblue Is not required If tiie transffer Is wholly exempt
 from tax based on lamlly relationship orpubllc utility easement. If more space is needed, attadi additional sheets.
 A. CORRESPOWDEMT- All inquiries may be directed to the fottoviring person;
 Name                                                                                                     Telephone Number;

 Mailing Address                                                          CRy                                               State    ZIP code


B. TRAMSFERPATA                                                          C. Pate ofAcceptance of Document
Grantor^)/Lessor(5)                                                      Gtantee(s)/Lessee{s)

 Mailing Addnsss                                                          Malilns Address                .

City                                            State     ZIP Code                                                          State     ZIP code



p. REALEgfaTELOCaTlOM
street Address                                                            aty. Township, Borough

Coi'nty                                         School District                                    Tax Parcel Number


       ■VAtUATlOM DATA - WAS TR^ISACTIOW PART OF AW ASSIGWMEWT OR RELOCATIOW? □ Y □ W
1. P                                            2. other consideration                             3. Total Consldec

4. County Assessed Value                                              0 ra ctor                         r Market Va ue



F. EXEMPTION DATA
la. Amount of Exemptfon Claimed                 lb. Pereentage of Grantor's Interest In Real Estate Ic. Percentage of Grantor's Interest Conveyed
                                                                           yj
   Check Appropriate Box Below for Exemption Claimed.
   □ Will or Intestate succession.                 ^
                                                                     (Name of Decedent)                                  (Estate Hie Number]
   □ *n:ar5sfer to a trust. (Attadi comjiiete copy of trust agreement Identifying ail benefidarles.) ; ■
   □ Transfer from a trust Date of transfer Into the trust
     If trust was amended attadi a copy of original and amenaiaWsE                                      :                                           7
   □ Ttansfer between prindpal and agent/straw party. (Attach complete copy of agency/straw party agreement)
   O Ttansfers to the commonwealth, the U.S. and instrumentalities by gift, dedication, condemnation or In lieu of cnn-
     demnatlG)'. (If condemnation or In lieu of condemnation, attach copy of resolution.)
   □ Transfer from mortgagor to a holder of a mortgage In default (Attadi copy of mortgage and note/assignment).
   D Corrective or confirmatory deed. (Attach complete copy of the deed to be corrected or confirmed.) •
   □ statutory corporate consolidation, merger or division. (Attach copy of artldes.)
   0"^Other (Please explain exemption dalmed.)                                                                             7
Under penalties of law, 1 dedare that I have examined this statement, including accompanying Information, and to
the best of my knowledge and belief, It is true, correct and complete.
signature of correspondent orResponsibl                                                                                Date




-FAILURE TO COMPI                    IIS FORM PROPERLY OR ATTACH REQUESTED DOCUMENTATIGN MAY RESULT IN
THE RECORDER'S                  ISALTO RECORD THE DEED.
       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 61 of 67

                RQ0T6UU
                              IJCR0DQ315




 ^-              ^ Assigns! of Overriding Royalty
                     —<^£££s£z^_           ,2014;Interest
                                                  by and ("Assignment") is made
                                                          between Mountain  V Oilthis
 26330,^      ^ referred
       neremafter   Virginia
                         to asCoiporation,
                               "Assignor". located in Bridgeport, West Virginia,

                                             AKD

           William C.i^yward;a Pennsylvania resident, having an address of 130
Longvue Drive, White Oak,Pennsylvania 15131,hereinafter referred to as
"Assignee".

                                           wnmssETH

           Whereas,Assignor and Assignee are parties to that certain AMI Agreement
dated June 1,2005; pursuant to which, Assignor has agreed to assign to the
Assignee an overriding royalty interest in and to one hundred percent(100%)of
the revenues attributable to oil and/or gas produced from all wells drilled by
^signer,its successors and assigns, under those certain oil and gas leases situated
in Washington County, Coimnonwealth ofPennsylvania, and described on Exhibit
jWl attached hereto and made a part hereof(each a"lease" and, collectively, the
"Leases"), all in accordance with the terms and conditions hereof.

        NOW THEREFORE in consideration ofthe covenants,agreements,
representations, warranties ^d other good and valuable consideration,receipt of
which is hereby acknowledged,and with the intent to be bound hereby,the
Assignor does hereby grant, convey,transfer and assign.to Assignee, an overridine
royalty interest("ORRI")equal to:
  1. One point five zero percent(1.50%)ofone hundred percent(100%)ofthe
  rev^ues attributable to oil and/or gas produced from all weUs drilled by
   Assignor, and its successors or assigns,to any depth or formation from the
  surface-to the center ofthe earth as to acreage subject to the Leases,the
  calculation of which shall be consistent with payments made to Assignor by •
  third-party operators for wells-drilled under a Lease,to the extent applicable.

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    Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 62 of 67




      Assignor specially warrants the title to the Leases unto Assignee,its
successors and.assigns,against all adverse claims arising by,thrnngh and nnHpsr
Assignor,but not otherwise. EXCEPT ASPROVIDED IN THEPRECRDINe
SENTENCE AND EXCEPT AS RPOVIDED IN THE AGREEMENT,THIS
ASSIGNMENT IS MTHOUT WARRANTY,EXPRESS,IMPLIED OR
STATUATORY,WHATSOEVER.                                           .

      Tbe provisions ofthis Assignment shall be construed as covenants running
with each Lease and shall inure to the.benefit ofand be binding upon Assignee,its
successors and assigns.

      This Assignment is made specifically subjectto the terms and conditions of
the Settlement Agreement,the terms and conditions ofwhich are incorporated
herein by reference thereto as thou^ set forth in fijll herein, and should there be
any conflict between the terms and provisions ofthis Assignment and Settlement
Agreement,thetenns and provisions ofthe Settlement Agreement gban prevail.
      This Assignment may be executed by Assignor and Assignee in any number
ofcounterparts, each ofwhich shall be deemed an original instrument, but all of
which riiall collectively constitute one and the same instrument For recording
purposes,the signature and/or acknowledgmrat pagesfbom multiple counterparts
may be combined into one or more other counterparts without affecting the effect
or validity ofthis Asagnment ■

       IN WITNESS WHEREOF,the parties hereto have caused this Assignment
to be executed on the dates oftheir respective acknowledgments setfor below.

                 [Signature and Acknowledgment pagesfellow].
     Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 63 of 67




ASSICENORt




ATIEST:                                           MOUNTAINV;                dGAS.JNC




                                                  Name! S, MieTiaftl fihtrvwr


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STATE OF WESTVIRGINIA
                                                   SS:
COUNTY OFHARRISON




        L           V'                  a notary public of the said state and county of
Pennsylvania, do certify that S. Michael Shaver as President of Monntain Y 01L.and Gas^
hic., a West Yiti^nia Corporation; for md on behalf of"the said corporation has signed to the
writing above dated the 3"^        day of ^Meyntaer                       ^ 2014: has this day
acknowledged the same before me in said county.




My Commission E^qnres:
                                                   Notary Public




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                                                                     NODUnniEUS       g
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       Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 64 of 67




   AS!SIGNlUi/i



   WTENESS:




                                                                             fjfjsuL.
                                             Name:WiUfam C.Hainvaid




   COMMONWEAL'pi OFPENNSYLVANIA.                   )
   COUNTY OF




                                          a notary pubEc of the said state and covmly of
   Pennsylvania,do ceitifir'that-Wilham C.Havward.known.to me(or sads&ctonly pcoyen)to he
   the jjerson whose name is subscribed to the within instrument, and acknowledged that he
   executed the same forthe pu^oses therein contained.



   My CommissionrExpiies:^
                          "cij-ai                    NotaryPublic
.eOMWeNWEiUJW0F''eMNSVtVAMlA
                                                                    EXHIBIT"A'


            Parcel ID                              tease Date           Instrtinientg
                                                                                                                                              I        Counttf        I     Towrishlo ~1
      530-009-00-00-0024-00                        6/30/2006             200620309                         Memte B,Patterson                        Washington             Nottingham
      S3O-012-DO-O0-OO18-OD                        6/29/2006             200S2Q30S          I        Joseph A.& Elaine M                            Washington             Nottingham
    I 530-012.00.00-0024-00,
                          |. 118.Q | 7/6/2009                       I   200623772 I                Huffy's Family Limited Partnership               Washington             Nottingham|
                                                                                                                                                                                     .
      580-010-00-00-0009-00                        10/19/200S           2(X)637718                         Mary Ann Gurdlsh                         Washington              Somerset
                                                                                                    Greg IVI.& Jacqueline A. Gurdlsh
      580-OQ9-00-00-0016-OD                        10/17/2005           200601051                 Leonard M.& Beverly Wlnklebleck.                  Washlrigton
                                                                                                             Joanne Brodc

      580-00S-00<KHX)14-Ql                         11/16/2005           200604775               Ruth R. McGowan.William W.McGowan                  Washington              Somerset
                                                                                                           Bruce E. McGowan

     580-OQ8-00-00-0049-00                         1/12/2006            2(»601054                     Eldrjage A.& Gloria Navrat                   Washington              Somelset
     580-OD8-00^}0-0049-05                         1/12/2006            200601052                    Joseph iy|.& Lenore A. Moiek                  Washington
     580-008-OD-00-0049                            1/12/2006            200601055               The Bagan Family Revocable Living Trust            Washihgton              Sonherset
     580-010-00-00-0008-0a                         5/12/2006            200615740                     11.5. Watural Resources. Inc.                Washington
     580-010-PO-00-0007-00                                                                                                                                                 Somerset
                                                                        (142.5 AC.)
                                                                                                                                                   Washington              Somerset
     58Q-008-00-00-0048-03            io:o8        5/19/2006            200615742                    WHIIaraR.& Virginia A Vasko                   Washington              Somerset
     S80-008-00-OQ-Q05Q-01            24,014       6/29/2006            200623773                    Chad K.& Michelle A Subrick                   Washington:            Somerset
     580^)10-00:00.^)007-01                        5/30/2006            200623774                 Thomas G.& Debra L Andrelchak
                                                                        (35.8 Ac.)

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I 580-0l0-00-00-00c)4-00 |            10.88    |   7/18/2006    |       20D63Q705       j
                                                                                                         Marilyn CMcllvalne                       Washington      |       Somer^
                                                                                                                                                                                               Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 65 of 67




I    580-008-0(H)0-0052-01    I        4L0         8/3/2006     I       2OO63Q706       i            Robert Ji & Joyce A Suitiner         I       Washington |            Sonierset        I
     580-010-OI3-00-0007-05       ■   12.623       8/3/2O06             200S307Q1                  Charles E. F|sher& Elaine Fisher               Washington              Somerset
                         Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 66 of 67




                                                      EXHIBIT "A' fcontinueri)
      ParceflO
                                                                                                                         County

58(M)Q5-00-00-0039-00                   1/2/2007       200703356                      Jeff & Lisa Putnak               Washington           Somerset
58{M)Q5-OQ-00-0040-Og                                   [33.0 Ac.)                                                     Washington           Somerset

58(MXa-00-00-0004-04                    3/12/2007      200716034                Richard R. & Unda D. Sprada           Washington            Somerset

SBO-ooa'QO-ocHogao-oo                  5/29/2007       200716960                 Walter P. & Bartiara Meek            Wasfilngton          Somerset
58(M)09-00-CI(M)03Q-01                                 (27.0 Ac.)                                                     Washington           Somerset
SSO-QOg-OCHXHXHB-QO
                                                                                                                      Washington           Somerset

640-011-00-OQ^4S-00                     6/5/2006       200619799                       MarvC Parish                   Washington

M0-010-00-00-0024-0(r                  9/14/200S       200633622                   PInleyvllle Airport, Inc.          Washington
58(K)68-OO-0Q-OO46-Ql                  8/10/2005       200540445                  The Aloe Company."Inc.              Washington           Somerset
580-008-00-00-0046-02'
                                                                                                                      Washington           Somerset

530-011-00-00-0004-00                  3/12/2007       200716033                   Barry F. & Beth A, Ford            Washington
SaOrD04-00-QO-0023-00
                                                                                                                                          Nottlrigham
                                                       (78.0 Ae.)                                                     Washington           Somerset

530-009-OQ-OQ-0004-03~                 smiTsxn         200716963"                      Daniel K. Guild                Washington    I     Nottingham
S20-OOS-00-00-0014-01                  3/15/2007       200716032         Michael Kusturlss. Jr. & Maureen Kusturiss   Washington        North Strabane
580-001-OCMXKI03Q-01                                   (78.0 AC.)                                                     Washington           Somerset

520-006-0043^0014-00        .   64.7   3/15/2007       200716031               Michael E.& Stella K. Kusturiss        Washington    I North Strabarte
5804)10-00-00-0007-01 g                6/26/2006       200627655         Midiael J. Kibelbek and Melanie H,KIbelbek   Washington           Somerset
S8Q-010-QO-00-0007-03                                  (107.1434)                                                     Washington        ' .Somerset

580-010-OQ-00-OQ07-05
                                                                                                                      Washington,         Somerset
58O-Q1Q-OQ-O0-OQ2Z-O1
                                                                                                                      Washington:         Somerset

580-008-00-QO-0046-01                  12/14/2005 I    20D605S79     I               _ Timothy C. Zyra                Washington          Somerset
                Case 2:21-cv-01920-CB Document 1-2 Filed 12/30/21 Page 67 of 67
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                                                                                Township

                                              School District                                            Thx tercel Number


                                                                                   ASSIGNMEMT
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 4. County Assessed, value .
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                                                                   agreem Identifying all benefldaries.) {E
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